  AO 435        Case 4:23-cv-02823                      Document 57              Filed on 05/13/25 in TXSD               Page 1 of 1
(Rev. 04/18)
                                                ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                  FOR COURT USE ONLY

                                                                                                                   DUE DATE:
                                                             TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                           2. PHONE NUMBER                  3. DATE
Amanda Hernandez                                                                 (915) 204-8928                    5/13/2025
4. DELIVERY ADDRESS OR EMAIL                                                      5. CITY                          6. STATE         7. ZIP CODE
amanda@ahfirm.com                                                                Houston                           Texas            77057
8. CASE NUMBER                               9. JUDGE                                                DATES OF PROCEEDINGS
4:23-cv-02823                                Lee H. Rosenthal                     10. FROM 5/9/2025              11. TO 5/9/2025
12. CASE NAME                                                                                       LOCATION OF PROCEEDINGS
Twana Ahmed v. Universal Protection Service, LP                                   13. CITY Houston               14. STATE Texas
15. ORDER FOR
’ APPEAL                                     ’ CRIMINAL                           ’ CRIMINAL JUSTICE ACT               ’ BANKRUPTCY
’ NON-APPEAL                                 ’ CIVIL                              ’ IN FORMA PAUPERIS                  ’ OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                    DATE(S)                          PORTION(S)                         DATE(S)
’ VOIR DIRE                                                                       ’ TESTIMONY (Specify Witness)
’ OPENING STATEMENT (Plaintiff)
’ OPENING STATEMENT (Defendant)
’ CLOSING ARGUMENT (Plaintiff)                                                    ’ PRE-TRIAL PROCEEDING (Spcy)    05/09/2025
’ CLOSING ARGUMENT (Defendant)                                                   Docket call held 05/09/2025
’ OPINION OF COURT
’ JURY INSTRUCTIONS                                                               ’ OTHER (Specify)
’ SENTENCING
’ BAIL HEARING
                                                                            17. ORDER
                            ORIGINAL                             ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                          NO. OF PAGES ESTIMATE                     COSTS
                  Clerk for Records of the Court)
                                                                   COPIES
                                                                 NO. OF COPIES
  ORDINARY                      ’                       ’
                                                                 NO. OF COPIES
    14-Day                      ’                       ’
                                                                 NO. OF COPIES
 EXPEDITED                      ’                       ’
                                                                 NO. OF COPIES
     3-Day                      ’                       ’
                                                                 NO. OF COPIES
    DAILY                       ’                       ’
                                                                 NO. OF COPIES
   HOURLY                       ’                       ’
  REALTIME                      ’                       ’
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                          ESTIMATE TOTAL
                        (deposit plus additional).                                                                 $              0.00 0.00
18. SIGNATURE                                                                     PROCESSED BY

19. DATE                                                                          PHONE NUMBER
5/13/2025
TRANSCRIPT TO BE PREPARED BY                                                      COURT ADDRESS




                                                      DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                      DEPOSIT PAID

TRANSCRIPT ORDERED                                                                TOTAL CHARGES                    $              0.00 0.00

TRANSCRIPT RECEIVED                                                               LESS DEPOSIT                     $              0.00 0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                             TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                         TOTAL DUE                        $              0.00 0.00
             DISTRIBUTION:            COURT COPY         TRANSCRIPTION COPY       ORDER RECEIPT       ORDER COPY
